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                   EXHIBIT O
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               Letters



               the current findings are due to bias from health care surveil-                       malignant adnexal skin tumors: a nationwide case-control study [published
               lance. We do not agree with that interpretation. Rather, the con-                    online June 15, 2018]. J Am Acad Dermatol. doi:10.1016/j.jaad.2018.06.014

               sistent findings of our previous studies on squamous cell car-                       5. Friedman GD, Asgari MM, Warton EM, Chan J, Habel LA. Antihypertensive
                                                                                                    drugs and lip cancer in non-Hispanic whites. Arch Intern Med. 2012;172(16):
               cinoma of the skin2 and lip3; our recent study on Merkel cell                        1246-1251. doi:10.1001/archinternmed.2012.2754
               carcinoma and adnexal skin tumors4; and a previous US study
                                                                                                    6. Pharmacoviligance Risk Assessment Committee. Meeting minutes January
               on lip cancer5 are compatible with hydrochlorothiazide use                           8-11, 2018. http://www.ema.europa.eu/docs/en_GB/document_library/Minutes
               being linked to an increased risk of UV-dependent skin can-                          /2018/03/WC500244940.pdf. Accessed June 30, 2018.
               cers in a dose-dependent manner. This is in line with the sug-
               gested biological mechanism of the carcinogenic potential of                         In Reply In response to the letter from Ippolito and Veuger, our
               hydrochlorothiazide, namely the drug’s known photosensi-                             Research Letter1 provides support for an association between
               tizing properties. To that end, it is worth highlighting that we                     pharmaceutical industry marketing and opioid prescribing by
               did not find increased risks for any of the skin cancers men-                        physicians.2
               tioned here being associated with use of other antihyperten-                              First, to establish temporality between exposure and out-
               sive drugs. In particular, we observed null associations for the                     come, we lagged physician opioid prescribing from market-
               closely related thiazide drug bendroflumethiazide even for the                       ing by 1 year.1 This allowed us to ensure that prescribing changes
               risk of squamous cell carcinoma, while the risk of this skin can-                    occurred after marketing was received, thus reducing the like-
               cer was increased 7-fold in patients with high cumulative use                        lihood of reverse causality. Analyses also adjusted for prior pre-
               (≥200 000 mg) of hydrochlorothiazide. The likely explana-                            scribing behaviors, which likely confound the relationship be-
               tion for this finding is that bendroflumethiazide—although                           tween marketing and subsequent opioid prescribing.
               equally photosensitizing as hydrochlorothiazide when com-                                 Second, our findings are consistent with other research3,4
               pared mole to mole—is typically used in one-tenth the dose as                        showing that physicians who receive pharmaceutical indus-
               compared with hydrochlorothiazide.                                                   try payments prescribe more of the medications being mar-
                    Finally, we respectfully disagree that researchers should                       keted. Third, like other studies,3 we found a “dose-response”
               abstain from publishing epidemiological studies contingent on                        association between marketing and prescribing, with each ad-
               their findings. However, future studies are definitely needed                        ditional industry-sponsored meal associated with greater sub-
               to fully elucidate the association of hydrochlorothiazide to                         sequent prescribing.
               melanoma and other skin cancers. Like van den Born and col-                               It is unlikely that pharmaceutical companies would in-
               leagues, we find it imperative that a drug’s potential adverse                       vest so heavily in direct-to-physician marketing if it did not
               risks are weighed against its established benefits. We have, for                     increase or at least maintain current levels of prescribing. Even
               the same reason, consistently emphasized that no patients                            in the event of reverse causality—that is, that pharmaceutical
               should stop their treatment with hydrochlorothiazide based                           companies market heavily to physicians who already fre-
               on our findings. For the time being, we await the results of sev-                    quently prescribe opioids (presumably to maintain their own
               eral ongoing studies as well as the pending recommendation                           prescribing levels and/or influence other prescribers in their
               by the European Medicines Agency’s Pharmacovigilance Risk                            practices)—there remains the public health question of whether
               Assessment Committee, which is currently evaluating the find-                        such a practice is appropriate amid an opioid overdose epi-
               ings of this and previous similar studies.6                                          demic initially fueled in part by the availability of prescrip-
                                                                                                    tion opioids.
               Anton Pottegård, MScPharm, PhD                                                            Ippolito and Veuger suggest that regulations limiting mar-
               David Gaist, MD, PhD                                                                 keting from pharmaceutical companies would prevent physi-
                                                                                                    cians from receiving important information from manufac-
               Author Affiliations: Clinical Pharmacology and Pharmacy, Department of               turers. Manufacturers may indeed offer information on
               Public Health, University of Southern Denmark, Odense, Denmark (Pottegård);
                                                                                                    appropriate opioid prescribing. Such information, however, is
               Department of Neurology, Odense University Hospital, Odense, Denmark
               (Gaist); Department of Clinical Research, Faculty of Health Sciences, University     readily available from other sources, such as medical profes-
               of Southern Denmark, Odense, Denmark (Gaist).                                        sional organizations and governmental bodies, and advo-
               Corresponding Author: Anton Pottegård, MScPharm, PhD, Clinical                       cates have long argued that physicians should receive educa-
               Pharmacology and Pharmacy, University of Southern Denmark, JB Winsløwsvej            tion from sources other than the pharmaceutical industry.5 The
               19, 2, 5000 Odense C, Denmark (apottegaard@health.sdu.dk).
                                                                                                    experience of academic medical centers that have limited mar-
               Conflict of Interest Disclosures: None reported.
                                                                                                    keting to physicians and trainees suggests that such restric-
               1. Pottegård A, Pedersen SA, Schmidt SAJ, Hölmich LR, Friis S, Gaist D.
                                                                                                    tions reduce the influence of manufacturers on prescribing be-
               Association of hydrochlorothiazide use and risk of malignant melanoma. JAMA
               Intern Med. 2018;178(8):1120-1122. doi:10.1001/jamainternmed.2018.1652               haviors as intended.6
               2. Pedersen SA, Gaist D, Schmidt SAJ, Hölmich LR, Friis S, Pottegård A.                   Legislation to limit industry payments to physicians is un-
               Hydrochlorothiazide use and risk of nonmelanoma skin cancer: a nationwide            der discussion, and some pharmaceutical companies are vol-
               case-control study from Denmark. J Am Acad Dermatol. 2018;78(4):673-681.             untarily reducing opioid marketing. Much attention has been
               doi:10.1016/j.jaad.2017.11.042
                                                                                                    paid to speaker fees and other payments of larger value. Our
               3. Pottegård A, Hallas J, Olesen M, et al. Hydrochlorothiazide use is strongly
                                                                                                    finding that the provision of industry-sponsored meals may
               associated with risk of lip cancer. J Intern Med. 2017;282(4):322-331. doi:10.1111
               /joim.12629                                                                          also influence physician prescribing underscores the impor-
               4. Pedersen SA, Johannesdottir Schmidt SA, Hölmich LR, Friis S, Pottegård A,         tance of limiting the number of marketing interactions with
               Gaist D. Hydrochlorothiazide use and risk of Merkel cell carcinoma and               physicians, not just the value of payments.

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                 Scott E. Hadland, MD, MPH, MS                                                      ers, as well as consideration of “legal limits on the number
                 Magdalena Cerdá, DrPH, MPH                                                         and amount of payments” by federal and state governments.
                 Brandon D. L. Marshall, PhD                                                        If the implied causal link does not exist, these measures
                                                                                                    would merely limit the information and other resources
                 Author Affiliations: Grayken Center for Addiction, Boston Medical Center,          available to physicians without reducing unwarranted opioid
                 Boston, Massachusetts (Hadland); Division of General Pediatrics, Department
                                                                                                    prescriptions.
                 of Pediatrics, Boston University School of Medicine, Boston, Massachusetts
                 (Hadland); Department of Emergency Medicine, School of Medicine, University
                 of California, Davis, Sacramento (Cerdá); Department of Epidemiology, Brown        Benedic Ippolito, PhD
                 University School of Public Health, Providence, Rhode Island (Marshall).           Stan Veuger, PhD
                 Corresponding Author: Scott E. Hadland, MD, MPH, MS, Grayken Center for
                 Addiction, Boston Medical Center, 88 E Newton St, Vose Hall, Room 322,             Author Affiliations: American Enterprise Institute for Public Policy Research,
                 Boston, MA 02118 (scott.hadland@bmc.org).                                          Washington, DC.
                 Conflict of Interest Disclosures: None reported.                                   Corresponding Author: Stan Veuger, PhD, American Enterprise Institute for
                 Funding/Support: Dr Hadland was supported by the Thrasher Research Fund            Public Policy Research, 1789 Massachusetts Ave NW, Washington, DC 20010
                 Early Career Award, the Academic Pediatric Association Young Investigator          (stan.veuger@aei.org).
                 Award, the Loan Repayment Program Award L40 DA042434 (National                     Conflict of Interest Disclosures: None reported.
                 Institutes of Health/National Institute on Drug Abuse [NIH/NIDA]), and K23
                 DA045085 (NIH/NIDA). Dr Cerdá was supported by R01 DA039962 (NIH/                  1. Hadland SE, Cerdá M, Li Y, Krieger MS, Marshall BDL. Association of
                 NIDA).                                                                             pharmaceutical industry marketing of opioid products to physicians with
                                                                                                    subsequent opioid prescribing. JAMA Intern Med. 2018;178(6):861-863. doi:10
                 Role of the Funder/Sponsor: The sponsors had no role in the preparation,           .1001/jamainternmed.2018.1999
                 review, or approval of the manuscript, and decision to submit the manuscript
                 for publication.
                 1. Hadland SE, Cerdá M, Li Y, Krieger MS, Marshall BDL. Association of             In Reply We used the term lactic acidosis in the title of our study1
                 pharmaceutical industry marketing of opioid products to physicians with            to be consistent with previous literature and to facilitate study
                 subsequent opioid prescribing. JAMA Intern Med. 2018;178(6):861-863. doi:10
                 .1001/jamainternmed.2018.1999                                                      identification.2 However, our study1 does not use lactate con-
                 2. Hernán MA. The C-word: scientific euphemisms do not improve causal
                                                                                                    centration to define acidosis events. In addition, our study is
                 inference from observational data. Am J Public Health. 2018;108(5):616-619.        observational, and the ability to infer causality—even with tech-
                 doi:10.2105/AJPH.2018.304337                                                       niques such as propensity score matching and active compara-
                 3. Yeh JS, Franklin JM, Avorn J, Landon J, Kesselheim AS. Association of           tor analyses—is limited.
                 industry payments to physicians with the prescribing of brand-name statins in           With regard to the issue of dose response brought up by
                 Massachusetts. JAMA Intern Med. 2016;176(6):763-768. doi:10.1001
                 /jamainternmed.2016.1709
                                                                                                    Mohammedi and colleagues,3 our study1 focused on the risk
                 4. DeJong C, Aguilar T, Tseng C-W, Lin GA, Boscardin WJ, Dudley RA.
                                                                                                    associated with metformin use within strata of estimated glo-
                 Pharmaceutical industry-sponsored meals and physician prescribing patterns         merular filtration rate (eGFR) without respect to dose. If we
                 for Medicare beneficiaries. JAMA Intern Med. 2016;176(8):1114-1122. doi:10.1001    were to separate metformin prescriptions into doses of more
                 /jamainternmed.2016.2765
                                                                                                    than 2 g/d and 2 g/d or less, both dose groups had similar risk
                 5. Tabas JA, Baron RB. Commercial funding of accredited continuing medical         of acidosis compared with sulfonylurea use at eGFR greater
                 education. BMJ. 2012;344:e810. doi:10.1136/bmj.e810
                                                                                                    than 90 mL/min/1.73 m2, eGFR 60 to 89 mL/min/1.73 m2, and
                 6. Larkin I, Ang D, Steinhart J, et al. Association between academic medical
                 center pharmaceutical detailing policies and physician prescribing. JAMA. 2017;
                                                                                                    eGFR 45 to 59 mL/min/1.73 m2. There were too few people in
                 317(17):1785-1795. doi:10.1001/jama.2017.4039                                      the group taking more than 2 g/d within the eGFR categories
                                                                                                    30 to 44 mL/min/1.73 m2 and less than 30 mL/min/1.73 m2 to
                                                                                                    reliably estimate risk of acidosis for this dosage; the results of
                 Reduced Opioid Marketing Could Limit Prescribing                                   the group taking 2 g/d or less were consistent with results in
                 Information for Physicians                                                         the published study.1 An earlier cohort study from the United
                 To the Editor A Research Letter recently published in JAMA In-                     Kingdom found a significantly higher risk of acidosis among
                 ternal Medicine by Hadland and colleagues1 reported on the                         patients if their most recently prescribed dose was greater than
                 relationship between pharmaceutical industry marketing of                          2 g/day (adjusted hazard ratio, 6.4; 95% CI, 1.35-30.3), but the
                 opioid products to physicians in 2014 and the frequency of opi-                    higher risk was not significant among those prescribed 2 g/day
                 oid prescriptions by physicians in 2015. The authors carried                       or less (adjusted hazard ratio, 3.78; 95% CI, 0.9-15.8).4
                 out a difference-in-differences analysis to show that among
                 physicians who prescribed opioids in 2015, those who re-                           Benjamin Lazarus, MBBS, MPH
                 ceived payments involving opioid products in 2014 had higher                       Jung-Im Shin, MD, PhD
                 opioid prescribing levels in 2015. Hadland and colleagues are                      Morgan E. Grams, MD, PhD
                 forthright in noting that the findings “establish an associa-
                 tion, not cause and effect.” 1(p863) While this correlation                        Author Affiliations: Department of Epidemiology, Johns Hopkins Bloomberg
                 undoubtedly exists, the authors then concluded that these                          School of Public Health, Baltimore, Maryland (Lazarus, Shin, Grams); Division of
                                                                                                    Nephrology, Monash Medical Centre, Clayton, Australia (Lazarus); Department
                 results support policy changes that only make sense if this                        of Medicine, Johns Hopkins University, Baltimore, Maryland (Grams).
                 correlation also represents a causal link that flows from pay-
                                                                                                    Corresponding Author: Morgan E. Grams, MD, PhD, Department of Medicine,
                 ments to opioid prescriptions. In particular, Hadland and col-                     Johns Hopkins University, 2024 E Monument Street, Baltimore, MD, 21205
                 leagues recommended “a voluntary decrease or complete                              (mgrams2@jhmi.edu).
                 cessation of marketing to physicians”1(p863) by manufactur-                        Conflict of Interest Disclosures: None reported.


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